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 7
 8
                                          UNITED STATES DISTRICT COURT

 9                                       CENTRAL DISTRICT OF CALIFORNIA

10
         Nehemiah Kong,                                  ) Case No.: 8:19-cv-02062-SVW-DFM
11
                      Plaintiff,                         )
12                                                       ) STIPULATION TO CONTINUE TRIAL AND
             v.                                          ) RELATED DATES
13                                                 )
         Costa Mesa Square, LLC, a California      ) Final Pretrial Conference: May 18, 2020
14       Limited Liability Company; and Does 1-10, ) Time: 3:00 p.m.
15                 Defendants.                     )
                                                   ) Complaint Filed: October 29, 2019
16                                                 ) Court Trial: May 26, 2020
                                                   )
17                                                 ) Honorable Judge Stephen V. Wilson
18
19
                                                      STIPULATION
20
                  Plaintiff Nehemiah Kong and Defendant Costa Mesa Square, LLC (collectively as “Parties”),
21
         hereby stipulate to a continuance of the final pretrial conference, trial, and associated dates.
22
                  Whereas, the Parties had scheduled the expert site inspection for March 27, 2020;
23
                  Whereas, on March 4, 2020, Governor Gavin Newsom declared a State of Emergency in
24
         California as a result of the threat of COVID-19;
25
                  Whereas, on March 19, 2020, Governor Gavin Newsom issued Executive Order N-33-20,
26
         requiring “all individuals living in the State of California to stay home or at their place of residence
27
         except as needed to maintain continuity of operations of the federal critical infrastructure sectors...”
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                                                              1


         Stipulation to Continue Trial                                                    Case #: 8:19-cv-02062-SVW-
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     1             Whereas, the Parties cannot meaningfully prepare their cases for trial or resolve existing
 2       issues without the information that will be provided by way of the expert site inspection;
 n
 3                 Whereas, counsel anticipate a 60-day continuance will allow for the expert site inspection to
 4       take place and for the Parties to either resolve the issues of the case or prepare their cases for trial;
 5                 THEREFORE, in light of the above, the parties respectfully request that this Court order
 6       continuances as follows:
 7                 Trial is continued from May 26, 2020, to August 4, 2020;
 8                The final pretrial conference is continued from May 18, 2020, to July 27, 2020;
 9                 Filing deadlines for trial documents are continued accordingly.
10
11       IT IS SO STIPULATED.
12
13       Dated: March 24, 2020                           Center For Disability Access

14

15                                                       By: /s/ Christopher A. Seabock
16                                                      CHRISTOPHER A. SEABOCK
                                                        Attorneys for Plaintiff
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18
19       Dated: March 24, 2020                          BREMER WHYTE BROWN & O’MEARA LLP
20
21                                                      By:
22                                                      TIMOTHY G. MCNULTY
                                                        Attorneys for Defendant Costa Mesa Square, LLC
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         Stipulation to Continue Trial                                                     Case #: 8:19-cv-02062-SVW-
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     1                                        SIGNATURE ATTESTATION
 2

 3                  I hereby attest that all signatories listed above, on whose behalf this Stipulation is submitted,
 4       concur in the filing’s content and have authorized the filing.
 5
 6       Dated: March 24, 2020                          Center For Disability Access

 7
 8                                                      By: /s/ Christopher A. Seabock
 9                                                      CHRISTOPHER A. SEABOCK
                                                        Attorneys for Plaintiff
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         :ipulation to Continue Trial                                                     Case #: 8:19-cv-02062-SVW-
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